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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN
11
12   LUCAS R., by his next friend             Case No. 2:18-CV-05741 DMG PLA
     MADELYN R.; DANIELA MARISOL
13   T., by her next friend KATHERINE L.;     CLASS ACTION
     MIGUEL ANGEL S., by his next
14   friend GERARDO S.; GABRIELA N.,          APPLICATION FOR LEAVE TO
     by her next friend ISAAC N.; JAIME       FILE UNDER SEAL DOCUMENTS
15   D., by his next friend REYNA D.; SAN     SUBMITTED IN SUPPORT OF
     FERNANDO VALLEY REFUGEE                  REPLY TO OPPOSITION TO
16   CHILDREN CENTER, INC.;                   MOTION FOR PRELIMINARY
     UNACCOMPANIED CENTRAL                    INJUNCTION RE: PLAINTIFF
17   AMERICAN REFUGEE                         GABRIELA N.
     EMPOWERMENT,
18
                     Plaintiffs,              Complaint Filed: June 29, 2018
19                                            Trial Date: None Set
           v.                                 Judge: Hon. Dolly M. Gee
20
     ALEX AZAR, Secretary of U.S.
21   Department of Health and Human
     Services; E. SCOTT LLOYD, Director,
22   Office of Refugee Resettlement of the
     U.S. Department of Health & Human
23   Services,
24                   Defendants.
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                                                      APPLICATION FOR LEAVE TO FILE UNDER SEAL
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                                                    APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                          1.
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 1          Pursuant to Federal Rule of Civil Procedure 5.2(d), Local Rule 79-5, and the
 2   Court’s Order granting leave to use pseudonyms (ECF 18), Plaintiff Gabriela N. submits
 3   this unopposed1 Application seeking leave to file under seal the entirety of Exhibit 36
 4   and portions of Exhibits 35 and 37 (“Exhibits”) in support of her Reply to Opposition
 5   to Motion for Preliminary Injunction. As required by Local Rule 79-5.2.2(a), Plaintiff
 6   submits concurrently with this application the declaration of Leecia Welch, a proposed
 7   order, redacted and unredacted versions of Exhibits 35 and 37, unredacted Exhibit 36,
 8   and a proposed order.
 9          The portions of Exhibits 35 and 37 that Plaintiff seeks to seal include the full
10   names of Gabriela N. and her Next Friend, Isaac N. See Welch Decl. ¶ 3 (table
11   specifying information Plaintiff seeks to seal for each Exhibit).
12          Exhibit 36, which Plaintiff seeks to seal in its entirety, contains the Young Center
13   for Immigrant Children’s Rights’ Best Interests Recommendation, which discusses
14   home studies of Isaac in detail. Due to the detailed nature of this document, the sensitive
15   information it contains cannot be separated from other information therein, and
16   therefore Plaintiff seeks to seal it in its entirety.
17          Gabriela is a minor in the immigration detention custody of the Office of Refugee
18   Resettlement (ORR).        She has an interest in maintaining her privacy while in
19   immigration custody and in her private mental health information.
20   I.     LEGAL STANDARD
21          “[A] court may seal records only when it finds a compelling reason and
22   articulate[s] the factual basis for its ruling, without relying on hypothesis or conjecture.”
23   Center for Auto Safety v. Chrysler Group, LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016)
24   (internal quotation marks omitted). Under this standard, the “party seeking to seal a
25   judicial record then bears the burden of . . . articulat[ing] compelling reasons supported
26   by specific factual findings . . . that outweigh the general history of access and the public
27
     1
       Defendants’ counsel (Marina Stevenson, marina.c.stevenson@usdoj.gov) has
28   informed Plaintiffs that Defendants will not oppose this Application.
                                                             APPLICATION FOR LEAVE TO FILE UNDER SEAL
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 1   policies favoring disclosure, such as the public interest in understanding the judicial
 2   process.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir.
 3   2006) (internal quotation marks and citations omitted). The court must “conscientiously
 4   balance[] the competing interests of the public and the party who seeks to keep certain
 5   judicial records secret.” Id. at 1179 (internal quotation marks and citations omitted).
 6   II.   ARGUMENT
 7         A.     There are compelling reasons to seal the information that Plaintiff
                  seeks to protect from public disclosure.
 8
 9         These documents and the related Reply to Opposition to Motion for Preliminary
10   Injunction contain highly personal information regarding Plaintiff Gabriela N., and
11   disclosure of her identifying and similar information would cause her significant harm.
12   Indeed, the Court already determined that there are compelling reasons to protect this
13   and similar information previously. (ECF 18, 28, 36.)
14         First, the Exhibits address a number of very sensitive and personal matters,
15   including the past abuse, trauma, and private mental health information and treatment
16   of Gabriela. Courts have recognized a constitutionally protected interest in avoiding
17   disclosure of such personal matters, including medical information. Doe v. Beard, 63
18   F. Supp. 3d 1159, 1166 n.4 (C.D. Cal. 2014) (collecting cases); see also Globe
19   Newspaper Co. v. Superior Court, 457 U.S. 596, 607 (1982) (finding that “safeguarding
20   the physical and psychological well-being of a minor” is a compelling interest).
21         Second, the Exhibits implicate the details of Gabriela’s immigration detention
22   and asylum claims, including her alien registration number. Federal law and policy
23   maintain personally identifying information related to such matters as confidential,
24   particularly for minors in the custody of the Office of Refugee Resettlement. See, e.g.,
25   8 C.F.R. § 236.6 (prohibiting release of “the name of, or other information relating, to”
26   immigration detainees); 8 C.F.R. § 208.6 (maintaining confidentiality of asylum
27   applications and related records).
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                                                         APPLICATION FOR LEAVE TO FILE UNDER SEAL
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 1          Third, Gabriela’s identifying information should be protected because the
 2   sensitive subject matter at issue – including her private mental health and trauma
 3   information and immigration detention – is based exclusively on her experience as a
 4   minor. Federal courts recognize the importance of protecting minors’ identities and
 5   personal information in court proceedings. Doe v. Kamehameha Schs./Bernice Pauahi
 6   Bishop Estate, 625 F.3d 1182, 1187 (9th Cir. 2010) (Reinhardt, J., dissenting from
 7   denial of reh’g en banc) (“The interest of minors in privacy is greater than the public’s
 8   interest in learning their names, even when there is no particular threat to the juvenile’s
 9   physical safety or wellbeing.”).
10          To protect Gabriela’s identity effectively, it is also necessary to protect the
11   identity of her Next Friend and potential sponsor. Identification of this individual could
12   lead easily to the identification of Gabriela. Further, one of the Exhibits implicates
13   personal information about Gabriela’s Next Friend, including his health history.
14          B.    Plaintiff’s sealing request is narrowly tailored.
15          Plaintiff seeks only a limited sealing order that permits her to file unredacted
16   versions of Exhibits 35-37 under seal and redacted versions of Exhibits 35 and 37 in the
17   public record. Other relevant information important to Plaintiff’s presentation of the
18   issues, including the content of Gabriela’s statements and other documents, would still
19   be maintained in the public record, and the Court’s resolution of these matters will be
20   public as well. Accordingly, filing Exhibit 36 and portions of Exhibits 35 and 37 under
21   seal is the least restrictive method of ensuring Gabriela’s and her family members’
22   privacy while permitting the public access to the maximum amount of information.
23   III.   CONCLUSION
24          For the reasons set forth above, Plaintiff respectfully requests leave to file the
25   entirety of Exhibit 36 and the unredacted versions of Exhibits 35 and 37 under seal, and
26   to file redacted versions of Exhibits 35 and 37 in the public record.
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                                                          APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                4.
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